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lN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DlVlSlON

UNITED sTATEs oF AMERICA
v. NO. 4;18_.MJ-423-BJ
BoBBY CAMPBELL (01)

JoiNT MorloN To EXTEND TIME To INDICT

The government, joined by defendant Bobby Campbell, files this Joint Motion to
EXtend Time to lndict:
l. On July 16, 2018, a criminal complaint Was filed against the defendant for
Conspiracy to Possess With lntent to Distribute a Controlled Substance, in violation of 21
U.S.C. § 846 (Zl U.S.C. § 84l(a)(l) and (b)(l)(B)). He Was taken into federal custody
on July l9, and his initial appearance Was held on the same day before this Court. The
government moved to detain the defendant at his initial appearance A detention and
preliminary hearing Were held simultaneously on July 24. The Court found that probable
cause existed to believe that the defendant committed the charged offense, and that the
defendant should be released on conditions pending further proceedings
2. Under the Speedy Trial Act, an indictment must be returned on the instant charge
Within thirty days from the date on Which such [defendant] Was arrested . . . in connection
With such charges 18 U.S.C. § 3161(b).
3. The parties request the Court to extend the time in Which an indictment must be

returned until September 20, 20l 8.

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This Would be an extension of approximately 32 days The 30th day Would fall on or
about August 19, 2018, not counting excludable time under 18 U.S.C. § 3161(11).
4. The reasons for the request are set forth beloW:

a. The parties are in the process of discovery and plea negotiations
This process Will likely impact the charges presented to the grand jury.

b. Granting an extension of time to indict Would be in the interest of
judicial economy. lf the thirty~day time period is extended, it is
possible that a plea agreement can be reached, thus negating the need
to indict.

5. The parties believe that such an extension Would serve the ends of justice and
outweigh the best interest of the public in a speedy trial. See 18 U.S.C. § 3161(h)('7)(A).
The parties submit that the request is not made in an effort to unduly delay the
proceedings ; but rather to insure that justice is achieved

6. Both the government and the defendant join in this request.

Respectfully submitted,

NEALY COX

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CERTIFICATE OF CONFERENCE

l hereby certify that l conferred With Vincent Wisely, counsel for defendant and he
communicated on behalf of his client that this jtion is unoppose .

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C klsz‘oi@*iu§k R`.’ WoLFE

ssistant United States Attorney

    

  

CERTIFICATE OF SERVICE

1 certify that a true and correct copy of the above pleading Was served upon
counsel for the defendant in accordance With the provisions of Rule 49 of the Federal
Rules of Criminal Procedure on the J;_ day o

  

 

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ssistant United States Attorney

CONCURRENCE BY DEFENDANT

I, Bobby Campbell, having been informed of my right to be indicted Within 30
days of the filing of the Criminal Complaint and after consultation With my attorney,
knowingly and voluntarily Waive my right to be indicted Within 30 days of the filing of
the Criminal Complaint, join in this motion, and request that the Court grant the
extension of time to indict pursuant to 18 U.S.C. § 3161. 1

BoBBY CXMPBELL viNCENT WlsELY
Defendant Attorney for Defendant

 

 

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